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       In The United States Court of Federal Claims
                                          No. 07-680C

                                    (Filed: October 1, 2010)
                                           _________
 5860 CHICAGO RIDGE, LLC.,

                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                            _________

                                             ORDER
                                            _________

       A telephonic status conference will be held in this case on Thursday, October 7, 2010, at
10:00 a.m. (EDT). Chambers will contact the parties shortly before the scheduled conference
time.

       IT IS SO ORDERED.



                                                           s/ Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
